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           ORDERED in the Southern District of Florida on January 16, 2024.




                                                                    Laurel M. Isicoff, Judge
                                                                    United States Bankruptcy Court
___________________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                             DIVISION
                                                        www.flsb.uscourts.gov

            In re:    GERAFODO MELGAR                                             Case No.: 23-10845-LMI
                                                                                  Chapter 13

                                Debtor(s)


                     AMENDED^ AGREED ORDER TO EMPLOYER TO DEDUCT AND REMIT
                                                  AND FOR RELATED MATTERS



           TO:       Masaveu & Co Management Real Estate
                     ATTN: PAYROLL DEPARTMENT
                     601 Brickell Key Drive #101
                     Miami. FL 33131
                     (The Employer)

           ^ Amended to reflect a higher plan amount.
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      The above-named debtor has voluntarily filed a petition and plan under chapter 13

of the United States Bankruptcy Code, seeking to pay. in whole or in part, certain debts

under the protection of this court. These debts are to be paid by the chapter 13 trustee

from the debtor's future earnings. It is public policy that the employer shall assist in the

rehabilitation of the debtor to avoid a chapter 7 liquidation pursuant to 11 U.S.C. §

1325(b). Accordingly, pursuant to Local Rule 3070-1 (D), this court orders:
       1.     The employer immediately shall begin withholding from wages, salary,

commission, or other earnings or income of said debtor $1,346.68 per month and remit

this amount by check (with the debtor’s name and case number indicated on the check)

payable to following assigned chapter 13 trustee: (indicate assigned trustee by checking

the applicable box):

      X Nancy K. Neidich, Post Office Box 2099. Memphis, TN 38101-2099 (check
payable to: Nancy K. Neidich. Trustee)

       2.     The employer is enjoined and restrained from discharging, terminating,

suspending, or discriminating against the debtor for any reason whatsoever in connection

with the filing of the chapter 13 petition or this wage-deduction order, the employer is

ordered further to notify the trustee of the discharge, termination, suspension, or

discriminatory action, and the specific reason(s).
       3.     If a summons of garnishment concerning the debtor has been served on the

employer, this chapter 13 case automatically enjoins and stays the continuation of that

garnishment proceeding pursuant to 11 U.S.C. § 362(a); and the employer is enjoined

and stayed from making any further deductions from the debtor's earnings on account of

the garnishment, and is ordered to remit immediately to the chapter 13 trustee any sums

already deducted and not yet paid over to the garnishment court.
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         4.     This order supersedes any previous order of garnishment or other order

issued with respect to the debtor's wages, except for income deduction orders regarding

child support, alimony and related support arrearages. Such support orders shall remain
in   full force and effect. Failure to comply with the provisions of this order may result in an

order to show cause why said employer should not be found in contempt of this court.

         5.     The debtor shall mail a copy of this order to any garnishment court with an

action against the debtor and any garnishing creditor. The attorney for the debtor or the
clerk of court, if the debtor is pro se, must serve copies on the employer.         A certificate of
service in accordance with Local Rule 2002-1 (F) reflecting service on all required parties

must be filed with the court.

         6.     This order shall be effective immediately upon service on the employer.

This order shall remain in full force and effect until modified, suspended or terminated

either in writing by the debtor’s attorney or by further order of the Court. This order shall

also terminate upon dismissal of this bankruptcy case, conversion of this case to chapter

7, or entry of a discharge of the debtor.
                                               ###



Agreed to by: (Both debtor and attorney for debtor, if any, must sign)

                                      (The Debtor)
'G^ardo Melgar 1981 NW 37 Avenue, Miami, FL 33125

                                      (The Debtor's Attorney)
Sub^f^d by: Jose A. Blanco, Esq., 102 East 49th Street, Hialeah, FL 33013, (305) 349-3463
